Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 1 of 11 PageID #: 5784



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

   JOE ANDREW SALAZAR,

               Plaintiff,
                                           Civil Action No. 2:16-cv-01096-JRG-RSP
         v.
                                                 JURY TRIAL DEMANDED
   HTC CORPORATION,                                  PATENT CASE

               Defendant.



              HTC CORPORATION’S OBJECTIONS TO AND REQUEST FOR
              RECONSIDERATION OF THE MAGISTRATE’S REPORT AND
                        RECOMMENDATION (DKT. 250)

   Fred I. Williams                      Todd E. Landis
   TX Bar No. 00794855                   TX Bar No. 24030226
   Email: fwilliams@velaw.com            Email: tlandis@velaw.com
   Mario A. Apreotesi                    Eric J. Klein
   TX Bar No. 24080772                   TX Bar No. 24041258
   Email: mapreotesi@velaw.com           Email: eklein@velaw.com
   VINSON & ELKINS LLP                   VINSON & ELKINS LLP
   2801 Via Fortuna, Suite 100           2001 Ross Avenue, Suite 3700
   Austin, Texas 78746                   Dallas, Texas 75201
   Tel: 512.542.8400                     Tel: 214.220.7700
   Fax: 512.542.8612                     Fax: 214.220.7716

   Harry Lee Gillam, Jr.                 Parker D. Hancock
   State Bar No. 07921800                GA Bar No. 463690
   Email: gil@gillamsmithlaw.com         Email: phancock@velaw.com
   GILLAM & SMITH, LLP                   VINSON & ELKINS LLP
   303 South Washington Avenue           1001 Fannin St., Suite 2500
   Marshall, Texas 75670                 Houston, Texas 77002
   Tel: 903.934.8450                     Tel: 713.758.2153
   Fax: 903.934.9257                     Fax: 713.615.5140


   ATTORNEYS FOR DEFENDANT
   HTC CORPORATION
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 2 of 11 PageID #: 5785



             Defendant HTC Corporation (“HTC”) objects to, and respectfully requests reconsideration

      of, certain determinations entered by the Magistrate Judge in his Report & Recommendation

      (“Report”). (Dkt. 250). See 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(b); L.R. CV-72(c). In

      this case, Plaintiff Joe Andrew Salazar (“Salazar”) has accused HTC’s products (“Accused

      Devices”) of infringing U.S. Patent 5,802,467 (the “’467 patent”). HTC respectfully submits that

      the Report should be reversed in part, and respectfully requests reconsideration of its motion for

      summary judgment. (Dkt. 149).

 I.      The Report Improperly Construes the Term “In Accordance With Said
         Communication Protocols” Based Entirely on Plaintiff’s Infringement Theory and
         Expert Testimony.

             Contrary to the Report’s finding, it is Salazar’s infringement theory that is rendered

      nonsensical by the asserted claims, not HTC’s application of the asserted claims’ plain meaning.

      Claim 1 recites: “said microprocessor creating a plurality of reprogrammable communication

      protocols” and “an infra-red frequency transceiver coupled to said microprocessor for transmitting

      to said external devices and receiving from said external devices, infra-red frequency signals in

      accordance with said communications protocols.” Claim 2 recites “a radio frequency transceiver

      coupled to said microprocessor for transmitting to said external devices and receiving from said

      devices, radio frequency signals at variable frequencies within a predetermined frequency range

      and in accordance with said communication protocols.” In Claims 1 and 2, the IR and RF

      transceivers respectively must be capable of communicating in accordance with the plurality of

      communication protocols created by the microprocessor. These protocols are not defined in the

      claim itself and, in particular, are not defined as IR and RF communication protocols. It is Salazar’s

      infringement theories that accuse the claimed plurality of communication protocols of being IR

      and RF communication protocols.



                                                        1
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 3 of 11 PageID #: 5786



          Salazar’s infringement theories are nonsensical when read in light of the properly construed

   claim language because he alleges that the accused plurality of communication protocols includes

   both IR and RF communication protocols. HTC moved for summary judgment of no infringement

   because it is undisputed that the IR transceivers in the accused devices cannot transmit and receive

   IR signals in accordance with an RF communication protocol. Salazar argued that a person of

   ordinary skill would not read the “said communication protocols” language to mean all of the

   communication protocols from the plurality of communication protocols created by the

   microprocessor, because such a reading would require the IR transceiver to communicate in

   accordance with RF protocols. In other words, Salazar argued that because HTC’s phones (or any

   other device) cannot operate in this manner, the claims cannot be construed in this way. That

   result flies in the face of decades of well-settled precedent:

                  A claim is construed in light of the claim language, the other claims,
                  the prior art, the prosecution history, and the specification, not in
                  light of the accused device. That procedure would make
                  infringement a matter of judicial whim. It is only after the claims
                  have been construed without reference to the accused device that the
                  claims, as so construed, are applied to the accused device to
                  determine infringement.

   SRI Int'l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1118 (Fed. Cir. 1985) (en banc)

   (emphasis in original); see also Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1324 (Fed.

   Cir. 2009) (“Claims are properly construed without the objective of capturing or excluding the

   accused device.”); Cohesive Techs., Inc. v. Waters Corp., 543 F.3d 1351, 1367 (Fed. Cir. 2008)

   (“[I]t is not appropriate for the court to construe a claim solely to exclude the accused device.”);

   see, e.g., NeoMagic Corp. v. Trident Microsystems, Inc., 287 F.3d 1062, 1074 (Fed. Cir. 2002)

   (agreeing that the district court arrived at its construction by improperly examining a feature of the

   accused device “and, in effect, constru[ed] the claims to exclude it”); Johansson v. Rose Displays

   Ltd., Inc., 121 F.3d 727 (Fed. Cir. 1997) (concluding that the district court failed to formulate “a
                                                     2
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 4 of 11 PageID #: 5787



   claim construction before looking to the accused markers”); Med. Innovations Corp. v. Ray, 930

   F.2d 38 (Fed. Cir. 1991) (explaining that “[c]haracterization of parts of [the accused] device is not

   evidence of the meaning of the claim”); EON Corp. IP Holdings, LLC v. Sensus USA Inc., 741 F.

   Supp. 2d 783, 796 (E.D. Tex. 2010) (Love, M.J.) (declining to construe terms in light of the

   accused products as an improper “request for the Court to pass judgment on the merits of

   [Plaintiff’s] non-infringement position”); Broadcom Corp. v. Intel Corp., No. 5:01-cv-302-DF,

   2003 WL 25787491, at *10 (E.D. Tex. May 9, 2003) (Folsom, J.) (refusing to narrow “the

   definition of ‘protocol’ to require a ‘frame format’ and ‘data rate’” based on limitations of the

   accused products”).

          By improperly construing the claims by reference to the accused devices, the Report

   concluded that the “said communication protocols” terms can allow for the created “plurality of

   reprogrammable communication protocols” to be split among Claims 1 and 2 such that “said

   communications protocols” in claim 1 can refer to one subset of the “plurality of reprogrammable

   communications protocols” and that identical language in dependent Claim 2 can refer to a

   different subset of the “plurality of reprogrammable communication protocols.” Report, at 7-8.

   That is contrary to well-settled law. See Wi-Lan v. Apple, Inc., 811 F.3d 455, 462 (Fed. Cir. 2016)

   (“subsequent use of the definite articles ‘the’ or ‘said’ in a claim refers back to the same term

   recited earlier in the claim”) (claim limitations of “producing modulated data symbols” and

   “combine[s] the modulated data symbols” refer to the same data symbols); 01 Communique

   Laboratory, Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1297 (Fed. Cir. 2012) (“The subsequent use of

   definite articles ‘the’ or ‘said’ in a claim to refer back to the same claim term does not change the

   general plural rule, but simply reinvokes that non-singular meaning.”); Creative Internet

   Advertising Corp. v. Yahoo, Inc., 467 Fed. Appx. 724, 728-29 (Fed. Cir. 2011) (claims that recite



                                                    3
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 5 of 11 PageID #: 5788



   “a” message, and then performing steps on “the” message refer to the same message); Baldwin

   Graphic Sys. v. Siebert, Inc., 512 F.3d 1338, 1343 (Fed. Cir. 2008) (“In grammatical terms, the

   instances of ‘said fabric roll’ in the claim are anaphoric phrases, referring to the initial antecedent

   phrase.”); NTP, Inc. v. Research In Motion, Ltd., 418 F.3d 1282, 1306 (Fed. Cir. 2005) (“[T]he

   definite article ‘the,’ refers to the antecedent ‘at least one of a plurality of destination processors

   in the electronic mail system.’”). Further, even if the Court believes that its constructions are

   necessary to avoid a nonsensical result, it is not free to re-write the claims. See Chef Am., Inc. v.

   Lamb-Weston, Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004) (“Even a nonsensical result does not

   require the court to redraft the claims of the [] patent”); Process Control Corp. v. Hydreclaim

   Corp., 190 F.3d 1350, 1357 (Fed. Cir. 1999) (“We do not permit courts to redraft claims. . . . we

   must construe the claims based on the patentee’s version of the claims as he himself drafted it”).

 II.   The Report Fails To Apply The Supreme Court’s Holding in Celotex When Denying
       Summary Judgment on the Memory Device Element.

          On a motion for summary judgment, it is well-settled that “[t]he moving party is entitled

   to a judgment as a matter of law [when] the nonmoving party [fails] to make a sufficient showing

   on an essential element of her case with respect to which she has the burden of proof.” Celotex

   Corp. v. Catrett, 477 U.S. 317, 322 (1986). “Rule 56(e) therefore requires the nonmoving party

   to go beyond the pleadings and by her own affidavits, or by the depositions, answers,

   interrogatories, and admissions on file, designate specific facts showing there is a genuine issue

   for trial.” Id. at 323. Indeed “[o]ne of the principal purposes of the summary judgment rule is to

   isolate and dispose of factually unsupported claims or defenses.” Id. at 323-24. Because Salazar’s

   only evidence in opposition to HTC’s motion for summary judgment on the memory device

   element was stricken and not considered, summary judgment of no infringement should have been

   entered. (Dkt. 251, at 5.)


                                                     4
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 6 of 11 PageID #: 5789



          It is Salazar’s burden alone to prove infringement by the Accused Devices. See Medtronic,

   Inc. v. Mirowski Family Ventures, LLC, 134 S.Ct. 843, 849 (2014) (“[T]he burden of proving

   infringement generally rests upon the patentee.”). Salazar failed to make a sufficient showing on

   the “memory device” element for each of the asserted claims. Salazar relied exclusively on a

   declaration from his expert, Mr. Griffin, to attempt to establish a genuine issue of material fact.

   See Fed. R. Civ. P. 56(a). Because the opinions proffered in Mr. Griffin’s declaration were

   untimely, unjustified, and outside the scope of his expert report, the Court granted HTC’s motion

   to strike, stating that it would “not consider Griffin’s declaration when resolving [HTC’s] Motion

   for Summary Judgment.” Dkt. 215, at 4-5. The claims require “a memory device coupled to said

   microprocessor configured to store a plurality of parameter sets.”         The Report construed

   “configured to” to “require some particularized arrangement of the memory device for a specific

   purpose.” Report, at 5. Without Mr. Griffin’s stricken report, Salazar presented no admissible

   evidence in rebuttal to HTC’s motion. Fed. R. Civ. P. 56(c)(1)(A)-(B); see Celotex, 477 U.S. at

   327. HTC is thus entitled to summary judgment because Salazar failed to make any showing to

   establish that the memory of the accused devices as sold were “configured to store a plurality of

   parameter sets.”

III.   The Report Fails to Resolve The Parties’ Fundamental Dispute on Whether the Claim
       Language Requires a Single Microprocessor.

          The claim limitations at issue here are “a microprocessor for generating a plurality of

   control signals used to operate said system,” “said microprocessor creating a plurality of

   reprogrammable communication protocols,” “said microprocessor configured to store a plurality

   of parameter sets retrieved by said microprocessor so as to recreate a desired command code set,”

   and “said microprocessor generating a communication protocol in response to said user

   selections.” The parties have a fundamental dispute over whether one microprocessor must be


                                                   5
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 7 of 11 PageID #: 5790



   capable of performing the claimed functions. As such, the Court is obligated to resolve the dispute.

   See O2 Micro Int’l v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008).

          Under controlling precedent, the claim language above requires a single microprocessor to

   perform all of the claimed functions associated with the claimed microprocessor. See In re Varma,

   816 F.3d 1352 (Fed. Cir. 2016). In re Varma involved the appeal of a claim construction from the

   Patent Trial and Appeal Board (the “Board”), in which the Board interpreted the phrase “a

   statistical analysis request corresponding to two or more selected investments.” Id. at 1358. The

   Board had concluded that the claim would be satisfied even if two requests would be necessary to

   accomplish an analysis of “two or more investments.” Id. The Federal Circuit rejected the Board’s

   decision because the Board had focused on the indefinite article “a” in the phrase “a statistical

   analysis” rather than on the two or more investments to which it must correspond. Id. at 1362-63.

   The Federal Circuit analogized this principle as follows: “For a dog owner to have a dog that rolls

   over and fetches sticks, it does not suffice that he have two dogs, each able to perform just one of

   the tasks” Id. at 1363. “In the present case, no matter how many requests there may be, no matter

   the variety of the requests the system may receive, the system must be adapted to receive a request

   that itself corresponds to at least two investments.” Id. The Federal Circuit thus concluded that

   the systems must be adapted to receive a request that itself corresponds to two investments.

          This Court has held that In re Varma is the law in factual circumstances quite similar to

   the present case. See Plano Encryption Techs., LLC v. Alkami, Inc., No. 2:16-cv-1032-JRG, 2017

   WL 3654122, at *10 (E.D. Tex. Aug. 23, 2017) (Gilstrap, J.) (based on the “legal principle” cited

   in In re Varma, construing “a storage medium” to mean “one or more storage media, at least one

   of which stores all of the recited instructions”); Plano Encryption Techs., LLC v. Am. Bank of Tex.,

   No. 2:15-cv-1273-JRG, 2016 WL 3959808, at *6-7 (E.D. Tex. July 22, 2016) (Gilstrap, J.)



                                                    6
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 8 of 11 PageID #: 5791



   (applying the rational of Enfish and In re Varma to construe disputed term). That is in accord with

   Federal Circuit precedent. See Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1342 (Fed. Cir.

   2016) (regarding “a logical table,” finding that the limitations at issue were required to be “in the

   same logical table”). The Report erred by not finding that, based on the plain meaning of the

   claims and the context of the invention disclosed in the ’467 patent, each and every recitation of

   “said microprocessor” refers to the same microprocessor.           See Wi-Lan, 811 F.3d at 462

   (“subsequent use of the definite articles ‘the’ or ‘said’ in a claim refers back to the same term

   recited earlier in the claim”)

IV.   Against The Overwhelming Weight of Intrinsic Evidence, The Report Construes The
      Claims To Read Out Their Requirement of “Two-Way” Communications.

          For the same reasons that “said communication protocols” must refer to all communication

   protocols throughout the claims, subsequent limitations that recite “said external devices” must

   refer to all of said external devices. See cited case law, supra, at p. 1. By failing to recognize the

   proper antecedent reference for “said external devices,” the Report re-writes the “for transmitting

   to said external devices and receiving from said external devices” claim language to be “for

   transmitting to said external devices or receiving from said external devices.” That result is

   improper under the law.

 V.   The Report Misconstrues The Terms “Creating” or “Generating.”

          Defendant objects to the Report’s construction of the terms “creating” or “generating,”

   which excludes actually creating or generating communication protocols. Report at 9. The plain

   and ordinary meaning of both terms is to “bring into existence.” See Dkt. 149, at 6-7. Salazar

   argued that the plain and ordinary meaning should not control based on the now-stricken

   declaration of Roy Griffin, and now the parties once more appear to have a disputed claim

   construction that was not resolved by the Report. Report, at 8; see O2 Micro Int’l. v. Beyond


                                                     7
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 9 of 11 PageID #: 5792



      Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) (“When the parties present a

      fundamental dispute regarding the scope of a claim term, it is the court’s duty to resolve it.”). The

      Report therefore errs in not adopting an express construction for these terms.

VI.      HTC is Entitled to Summary Judgment for the Products Sold to Sprint.

             Defendant objects to the Court’s determination that HTC is not entitled to partial summary

      judgment that the Accused Devices sold to Sprint do not infringe. It is undisputed that HTC

      America, Inc. is the importer of record for HTC-branded smartphones sold in the U.S., taking title

      outside of the United States. (Dkt. 149, UMF No. 23). Because the record shows no allegedly

      infringing acts in the United States, HTC Corporation cannot be liable for any direct infringement

      for the Accused Devices retailed by Sprint. HTC Corporation is therefore entitled to partial

      summary judgment on those sales.

      Dated: May 6, 2018                                    Respectfully submitted by,

                                                            /s/ Fred I. Williams__
                                                            Fred I. Williams
                                                            State Bar No. 00794855
                                                            fwilliams@velaw.com
                                                            Mario A. Apreotesi
                                                            State Bar No. 24080772
                                                            mapreotesi@velaw.com
                                                            VINSON & ELKINS LLP
                                                            2801 Via Fortuna, Suite 100
                                                            Austin, Texas 78746
                                                            Tel: 512.542.8400
                                                            Fax: 512.542.8612




                                                       8
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 10 of 11 PageID #: 5793



                                             Todd E. Landis
                                             State Bar No. 24030226
                                             tlandis@velaw.com
                                             Eric J. Klein
                                             State Bar No. 24041258
                                             eklein@velaw.com
                                             VINSON & ELKINS LLP
                                             2001 Ross Avenue, Suite 3700
                                             Dallas, Texas 75201
                                             Tel: 214.220.7700
                                             Fax: 214.220.7716

                                             Parker Hancock
                                             Georgia Bar No. 463690
                                             phancock@velaw.com
                                             VINSON & ELKINS LLP
                                             1001 Fannin, Suite 2500
                                             Houston, Texas 77002
                                             Tel: 713.758.2222
                                             Fax: 713.758.2346

                                             Harry Lee Gillam, Jr.
                                             State Bar No. 07921800
                                             gil@gillamsmithlaw.com
                                             GILLAM & SMITH, LLP
                                             303 South Washington Avenue
                                             Marshall, Texas 75670
                                             Tel: 903.934.8450
                                             Fax: 903.934.9257

                                             Counsel for Defendant HTC Corporation




                                         9
Case 2:16-cv-01096-JRG-RSP Document 260 Filed 05/06/18 Page 11 of 11 PageID #: 5794



                                  CERTIFICATE OF SERVICE

          The undersigned certifies that all counsel of record who have consented to electronic

   service are being served on May 6, 2018, with a copy of the foregoing document via the Court’s

   CM/ECF system pursuant to Local Rule CV-5(a)(3).



                                                       /s/ Fred I. Williams__________
                                                       Fred I. Williams




                                                  10
